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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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KEENAN M. SCOTT, THOMAS
LOGAN, JOHN LOOMIS, ROBERT
DAVISON, and MICHAEL C. | MEMORANDUM OPINION
DEMARTINO, et al., AND ORDER
Plaintiffs, 02 Civ. 9530 (SAS)
- against -
CITY OF NEW YORK and THE NEW | Doct teNT
YORK CITY POLICE DEPARTMENT, Ut
ELECTRONICALLY FILBN |
H DOC #
Defendants. ~ f-
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SHIRA A. SCHEINDLIN, U.S.D.J.:

This case was brought in November 2002 as a collective action under
the Fair Labor Standards Act (“FLSA”), on behalf of nearly 16,000 New York City
police officers and detectives. After six years of litigation, extensive motion

practice on many novel issues of law, and a multi-week jury trial,’ each side won

| See, e.g., Scott v. City of New York, No. 02 Civ. 9530, 2009 WL
1286420 (S.D.N.Y. May 8, 2009); Scott v. City of New York, 592 F. Supp. 2d 501
(S.D.N.Y. 2008); Scott v. City of New York, 592 F. Supp. 2d 475 (S.D.N.Y. 2008);
Scott v. City of New York, 592 F. Supp. 2d 386 (S.D.N.Y. 2008); Scott v. City of
New York, 591 F. Supp. 2d 554 (S.D.N.Y. 2008); Scott v. City of New York, No. 02
Civ. 9530, 2004 WL 2980135 (S.D.N.Y. Dec. 27, 2004); Scott v. City of New York,
340 F. Supp. 2d 371 (S.D.N.Y. 2004).
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and lost important issues. Plaintiffs convinced the jury that defendants had
willfully violated the law by (1) incorrectly calculating overtime rates of pay, and
(2) failing to credit plaintiffs with overtime in certain situations where it was
legally required. Plaintiffs also prevailed on their argument that, as a matter of
law, the hours that a New York City police officer or detective spends on meal
periods are considered “hours worked” for FLSA purposes. On the other hand,
plaintiffs failed to convince the jury of their allegations that defendants (1) had a
policy or practice of wrongfully denying requests to use compensatory time
accrued, and (2) wrongfully failed to pay overtime when they worked only a few
minutes beyond the end of their scheduled tour. Plaintiffs likewise failed to
demonstrate that their Force Accrual claim — 1.e., that defendants improperly
forced plaintiffs to accept compensatory time instead of cash overtime — could be
maintained as a collective action. Based on these outcomes, the jury awarded
plaintiffs $900,000 in damages.

The Court entered judgment on June 30, 2009. All parties timely filed
notices of appeal. In August 2009, I awarded $4,328, 194.38 in attorneys’ fees and
costs to plaintiffs’ counsel.’ On October 9, 2009, the Second Circuit stayed the

appeal and remanded for this Court to review a proposed settlement among the

, See Scott v. City of New York, No. 02 Civ. 9530, 2009 WL 2610747
(S.D.N.Y. Aug 25, 2009).
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parties.

Under the proposed settlement, the parties will accept the Court’s
judgment entered on the jury’s verdict.’ Both sides will withdraw their merits
appeals and defendants will pay $900,000 to plaintiffs and much of the attorneys’
fees and costs.’ The parties reached this agreement after consideration of the risk,
uncertainty, and delay both sides would face in an appeal.’ Specifically, Plaintiffs’
counsel assessed (1) plaintiffs’ likelihood of appellate success on certain material
adverse decisions; (2) the significance of those potential successes in a
hypothetical remand and retrial; and (3) the vulnerabilities that plaintiffs face on

issues that likely would be raised by defendants’ cross-appeal.°

; See Plaintiffs’ Memorandum of Law in Support of Settlement on the
Basis of the Court’s June 30, 2009 Judgment (“Pl. Mem.”) at 1.

‘ The only appellate issues that will remain post-settlement concern the

fees awarded to one of plaintiffs’ attorneys, Thomas Puccio. Defendants will not
pay Puccio’s fee award until final resolution of the amount he is due.

° See id. Additionally, “[b]efore reaching the conclusion that the
proposed no-appeal agreement is a fair one from plaintiffs’ perspective, plaintiffs’
counsel consulted with each Representative Plaintiff who testified at trial. Of the
17 testifying Representative Plaintiffs, 14 expressed a desire to settle on the basis
of the June 30, 2009, and only one favored an appeal. Two were undecided. The
sentiment among the five Named Plaintiffs — four of whom were among the
witnesses at trial — is similar, with 4 of 5 favoring settlement, and one being
undecided.” /d. at 16.

6 See id. at 3-16.
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Because such an agreement constitutes a settlement on behalf of the
class, the Court “must scrutiniz[e] the settlement for fairness.”” The Court held a
Fairness Hearing on December 18, 2009. Plaintiffs’ counsel advised the Court that
ten individuals requested to appear at the hearing;* however, only one plaintiff
attended the hearing and he elected not to speak. In advance of the hearing, the
Court reviewed eleven letters from individual plaintiffs concerning the proposed
settlement.’ The majority of the letters express disappointment and frustration in
the amount of damages awarded by the jury and, relatedly, the amount of money

individual plaintiffs will receive.'® One letter incorrectly argues that plaintiffs’

7 Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1353 (11th
Cir. 1982) (FLSA case) (citing D.A. Schulte, Inc. v. Gangi, 328 U.S. 108 (1946)).

8 See Report on Plaintiffs’ Response to Proposed Settlement (“Report”)

at 2. In November 2009, plaintiffs’ counsel mailed 14,209 individual plaintiffs
notice of the proposed settlement and the hearing. An ad was placed in The Chief
Leader, a weekly paper targeted to NYC employees, and information about the
proposed settlement was posted on the lawsuit’s website. See id. at app. A, B, C.
See also Pl. Mem. at 3.

° See Report at app. D.

"0 Many of the letters assume that the $900,000 will be split evenly
among plaintiffs. However, the jury award will not be disbursed equally. Rather,
due to the nature of the claims upon which plaintiffs prevailed, individual awards
require individualized calculations of damages. At the Fairness Hearing, counsel
represented that class members stand to receive between approximately $10 and
$1000, with the vast majority of plaintiffs receiving an award on the low end of the
range.
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counsel are not entitled to the entire attorneys’ fees awarded by the Court pursuant
to the FLSA but rather are entitled, under the contingent fee agreement between
counsel and class members, to 25 percent of the jury award plus 25 percent of the
statutory attorneys’ fees. No letter addresses plaintiffs’ likelihood of appellate
success or the potential ramifications of any win or loss on appeal.

I have carefully scrutinized the proposed settlement and the
negotiation process, keeping in mind that the settlement here involves the
acceptance of a jury verdict, as opposed to a settlement negotiated by the parties. I
conclude that the terms of the settlement are fair, reasonable, adequate and not a
product of collusion. While I fully appreciate that some class members are
dissatisfied with the amount of damages awarded by the jury, especially following
such protracted litigation, plaintiffs who continue to be employed by the New York
City Police Department shall also benefit prospectively from various rulings made
in their favor. For example, I ruled that an agreement existed to treat officers’
meal periods as working time for FLSA purposes.'’ That was a crucial victory for
plaintiffs, for had defendants prevailed on this issue, “it likely would have wiped

out all damages in the case, no matter how successfully plaintiffs proved their other

i See Scott, 592 F. Supp. 2d at 408-09.
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claims.””””

Plaintiffs reasonably believe that the risk of losing on appeal with
respect to decisions rendered in their favor by this Court outweighs any benefits
that might be gained by an appellate victory. Because this case involves many
questions of first impression — including the meal period issue — the outcome of
the appeal is all the more difficult to predict. It is fair for the parties to forego their
appeals and to settle on terms largely established by the jury.

For the foregoing reasons, the Court approves the proposed

settlement. The Clerk of the Court is directed to close this case.

SO ORDERED:

Date: December 21, 2009
New York, New York

2 Pl. Mem. at 14.
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